     Case 2:19-cv-01854-PSG-MRW Document 64 Filed 08/04/21 Page 1 of 1 Page ID #:488




                                                                                     CLERK, U.S. DIST ICT COURT
~~
      1
                                     UNITED STATES DISTRICT COURT
                                                                                          AU6 -4
      2
                                CENTRAL DISTRICT OF CALIFORNIA
                                                                                    CENTRAL   S   CT F CALIFORNIA
                                                                                    BY                    DEPUTY
      3
           LSCC LLC, an Arkansas limited liability
           corporation, individually and on behalf of    Case No. 2:19-cv-01854-PSG(MRWx)             J~CP
      5    itself and all others similarly situated,
                                                                ORDER OF DISMISSAL
      6                 Plaintiff,                                WITH PREJUDICE
      7
                 vs.                                      Complaint Filed: March 13, 2019
      8
           WILCO LIFE INSURANCE COMPANY                   Judge:      Hon. Philip S. Gutierrez
      9
           f/k/a CONSECO LIFE INSURANCE
      10   COMPANY,
      t1                Defendant.
      12

      13        ['~me nn fir c~nsiderati~n this day, the Joint Stipulation of Dismissal with
      14
           Prejudice of all Parties. The parties no longer desiring to pursue this action, the
      15
           finds that the Joint Stipulation of Dismissal be GRANTED.
      16
                  It is, therefore, ORDERED that all claims in this matter against Defendant V
      17
           Life Insurance Company are hereby dismissed with prejudice and that each party
      18
           bear its own respective costs of suit and attorneys' fees. This is a final judg
      19
           disposing of all claims and all parties. All relief not expressly granted herein is hf
      2v
           denied.
      21                                                            2021.
                  SIGNED this the ~~~day of                '~'afi
      22

      23

      24
                                           The Honorable Philip S. Gutierrez
      25                                   United States Chief District Court Judge
      26

      27

      28
